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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7       IN RE: CATHODE RAY TUBE (CRT)                     MDL No. 1917
                                           ANTITRUST LITIGATION
                                   8                                                         Case No. C-07-5944 JST

                                   9
                                           This Order Relates To:                            ORDER REGARDING DAUBERT
                                  10                                                         MOTIONS AND MOTIONS IN LIMINE
                                                                                             FOR CASES SUBJECT TO REMAND
                                  11       ALL DIRECT ACTION PLAINTIFFS
                                  12
Northern District of California
 United States District Court




                                  13             It appears that at least one of the remaining Daubert motions may relate only to cases that

                                  14   will eventually be remanded for trial. See ECF No. 3176. The Court will not decide, and will

                                  15   defer to the transferor court on remand, any motion in limine that affects only a case that will

                                  16   eventually be remanded back to a transferor court for trial.1 See Bouchard v. CBS Corp., No. 11-

                                  17   00458, 2012 WL 5462612, at *1 (E.D. Pa. Oct. 2, 2012) (concluding that “the ruling Defendant

                                  18   seeks is a matter better handled by the trial judge in the context of a motion in limine”); In re

                                  19   Sears, Roebuck & Co. Tools Mktg. & Sales Practices Litig., No. 05 C 4742, 2012 WL 3961295, at

                                  20   *1 (N.D. Ill. Sept. 10, 2012) (entering a suggestion of remand because, in part, the “only ‘pretrial

                                  21   motions’ we can anticipate at this point would relate to the manner in which the case would be

                                  22   tried, such as motions in limine”); In re Cobra Tax Shelters Litig., No. 1:05ML9727WTLTAB,

                                  23   2009 WL 1010422, at *1 (S.D. Ind. Apr. 14, 2009) (“It is the Court’s view that the pending

                                  24   motions in limine on the admissibility of expert testimony would be best resolved by the court that

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                                  26    Of course, where there are motions in limine that affect both actions to be tried in this forum as
                                       well as cases subject to remand, those motions are appropriately decided by the undersigned. In re
                                  27   Cessna 208 Series Aircraft Products Liab. Litig., No. 05-MD-1721-KHV, 2009 WL 1357234, at
                                       *2 (D. Kan. May 12, 2009) (“part of this Court's duty to get cases ‘trial-ready’ includes
                                  28   evidentiary rulings on common issues”).
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                                   1   ultimately tries this case.”); see also M. Hugo & S. Helinski, 1 Litigating Tort Cases § 8:72 (online

                                   2   ed. 2015) (“Because the subject of motions in limine surround trial matters, the appropriate time to

                                   3   bring such motions is after remand to the transferor court – the trial court.”

                                   4          Accordingly, the Court orders the parties to submit a joint filing by June 20, 2016,

                                   5   identifying any Daubert motion or motion in limine still pending which relates only to a case or

                                   6   cases subject to remand. Any party who believes that the undersigned should decide any motion

                                   7   on that list may so request and may submit a short explanation in support of that request. Parties

                                   8   should not discuss the timing of remand in this joint filing.

                                   9           IT IS SO ORDERED.

                                  10   Dated: June 13, 2016
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                                                                                                      JON S. TIGAR
                                  12                                                            United States District Judge
Northern District of California
 United States District Court




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